Case 5:23-cv-00134-RWS-JBB Document 38 Filed 04/26/24 Page 1 of 6 PageID #: 590




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION


 OPTIMORPHIX, INC.,                         Civil Action No. 5:23-cv-126-RWS-JBB
                  Plaintiff,
             v.                             JURY TRIAL DEMANDED
 CISCO SYSTEMS, INC.,
                  Defendant.

 OPTIMORPHIX, INC.,                         Civil Action No. 5:23-cv-123-RWS-JBB
                  Plaintiff,
             v.                             JURY TRIAL DEMANDED
 AMAZON.COM, INC. AND AMAZON WEB
 SERVICES, INC.,
                  Defendants.

 OPTIMORPHIX, INC.,                         Civil Action No. 5:23-cv-134-RWS-JBB
                  Plaintiff,
             v.                             JURY TRIAL DEMANDED
 CA, INC.,
                  Defendant.

 OPTIMORPHIX, INC.,                         Civil Action No. 5:23-cv-150-RWS-JBB
                  Plaintiff,
             v.                             JURY TRIAL DEMANDED
 MICROSOFT CORPORATION,
                  Defendant.

 OPTIMORPHIX, INC.,                         Civil Action No. 5:24-cv-26-RWS-JBB
                  Plaintiff,
             v.                             JURY TRIAL DEMANDED
 F5, INC.
                  Defendant.
Case 5:23-cv-00134-RWS-JBB Document 38 Filed 04/26/24 Page 2 of 6 PageID #: 591




               JOINT MOTION TO CONTINUE SCHEDULING CONFERENCE

           Plaintiff OptiMorphix, Inc. (“OptiMorphix” or “Plaintiff”) and Defendants Cisco Systems,

 Inc. (“Cisco”); Amazon.com, Inc.; Amazon Web Services, Inc.; Amazon.com Services LLC

 (collectively, “Amazon”); CA, Inc. (“CA”); Microsoft Corporation (“Microsoft”); and F5, Inc.

 (“F5”), hereafter Plaintiff and Defendants collectively referred to as “the Parties,” file this Joint

 Motion to Continue Scheduling Conference and show the Court as follows:

           Pursuant to this Court’s April 24, 2024 Order (Dkt. 32 in C.A. No. 5:23-cv-123), these

 cases are currently set for a Scheduling Conference on May 6, 2024. The Parties respectfully

 request the Court continue the scheduling conference by approximately one month to a date and

 time in early June convenient for the Court. Good cause exists to continue the scheduling

 conference because the Parties believe additional time is needed to coordinate and meet and confer

 regarding the Parties’ proposals relating to the case schedule, protective order, and discovery

 issues.

           The Parties are not seeking an Order changing the Markman Hearing, dispositive motion

 deadline, pre-trial conference, or trial dates provided in the Court’s April 24 Order. (Dkt. 32 at 3-

 4 in C.A. No. 5:23-cv-123.) The Parties have agreed to incorporate those dates into the proposed

 Docket Control Order they are presently negotiating. Instead, the present Joint Motion only seeks

 to continue by approximately one month the Scheduling Conference to provide the Parties

 additional time to finalize a Joint Conference Report, proposed Docket Control Order, proposed

 Discovery Order, proposed Protective Order, and a proposed E-Discovery Order prior to the

 Scheduling Conference.

           Wherefore, the Parties respectfully request the Court continue the scheduling conference

 as stated above.




                                                  2
Case 5:23-cv-00134-RWS-JBB Document 38 Filed 04/26/24 Page 3 of 6 PageID #: 592




 Dated: April 26, 2024                     Respectfully submitted,

 Counsel for Plaintiff OptiMorphix, Inc.   Counsel for Defendant Cisco Systems, Inc.

 /s/ Daniel P. Hipskind                     /s/ Tamir Packin               .
 Dorian S. Berger (CA SB No. 264424)       Tamir Packin (pro hac vice)
 Daniel P. Hipskind (CA SB No. 266763)     Lindsey Miller (pro hac vice)
 Erin E. McCracken (CA SB No. 244523)      Deborah Mariottini (pro hac vice)
 BERGER & HIPSKIND LLP                     DESMARAIS LLP
 9538 Brighton Way, Ste. 320               230 Park Avenue
 Beverly Hills, CA 90210                   New York, NY 10169
 Telephone: 323-886-3430                   Tel: (212) 351-3400
 Facsimile: 323-978-5508                   Fax: (212) 351-3401
 E-mail: dsb@bergerhipskind.com            TPackin@desmaraisllp.com
 E-mail: dph@bergerhipskind.com            LMiller@desmaraisllp.com
 E-mail: eem@bergerhipskind.com            DMariottini@desmaraisllp.com

 Elizabeth L. DeRieux                      Michael R. Rhodes (pro hac vice)
 State Bar No. 05770585                    DESMARAIS LLP
 Capshaw DeRieux, LLP                      101 California Street, Suite 3000
 114 E. Commerce Ave.                      San Francisco, CA 94111
 Gladewater, TX 75647                      Tel: (415) 573-1900
 Telephone: 903-845-5770                   Fax: (415) 573-1901
 E-mail: ederieux@capshawlaw.com           MRhodes@desmaraisllp.com

                                           Lead Counsel for Defendant
                                           CISCO SYSTEMS, INC.

                                           Melissa R. Smith
                                           GILLIAM & SMITH LLP
                                           303 South Washington Avenue
                                           Marshall, TX 75670
                                           Telephone: (903) 934-8450
                                           Facsimile: (903) 934-9257
                                           melissa@gilliamsmithlaw.com

                                           Local Counsel for Defendant
                                           CISCO SYSTEMS, INC.




                                           3
Case 5:23-cv-00134-RWS-JBB Document 38 Filed 04/26/24 Page 4 of 6 PageID #: 593




                                       Counsel for Defendant Microsoft Corp.

                                       /s/ Betty Chen                      .

                                       Betty H. Chen
                                       Texas Bar No. 24056720
                                       Michael R. Rhodes (pro hac vice)
                                       California Bar No. 319432
                                       DESMARAIS LLP
                                       101 California Street, Suite 3000
                                       San Francico, CA 94111
                                       P: (415) 573-1900
                                       F: (415) 573-1901
                                       BChen@desmaraisllp.com
                                       MRhodes@desmaraisllp.com

                                       Thomas Derbish (pro hac vice)
                                       D.C. Bar No. 1766840
                                       DESMARAIS LLP
                                       1899 Pennsylvania Avenue, NW, Suite 400
                                       Washington, D.C. 20006
                                       P: (202) 451-4900
                                       F: (202) 451-4901
                                       TDerbish@desmaraisllp.com

                                       Lead Counsel for Defendant
                                       MICROSOFT CORP.

                                       Melissa R. Smith
                                       Texas Bar No. 24001351
                                       GILLAM & SMITH LLP
                                       303 S. Washington Avenue
                                       Marshall, Texas 75670
                                       P: (903) 934-8450
                                       F: (903) 934-9257
                                       melissa@gillamsmithlaw.com

                                       Local Counsel for Defendant
                                       MICROSOFT CORP.

                                       Counsel for Defendant CA, Inc.

                                       /s/ Kristopher L. Reed
                                       Kristopher L. Reed
                                       KILPATRICK TOWNSEND & STOCKTON LLP
                                       2001 Ross Avenue, Suite 4400



                                       4
Case 5:23-cv-00134-RWS-JBB Document 38 Filed 04/26/24 Page 5 of 6 PageID #: 594




                                       Dallas, TX 75201
                                       Telephone: (214) 922-7143
                                       Facsimile: (214) 922-7101
                                       kreed@ktslaw.com

                                       Russell A. Korn
                                       Joshua H. Lee
                                       KILPATRICK TOWNSEND & STOCKTON LLP
                                       1100 Peachtree Street NE, Ste. 2800
                                       Atlanta, GA, USA, 30309
                                       Telephone: (404) 815-6500
                                       Facsimile: (404) 815-6555
                                       rkorn@ktslaw.com
                                       jlee@ktslaw.com

                                       Edward J. Mayle
                                       KILPATRICK TOWNSEND & STOCKTON LLP
                                       1400 Wewatta St., Ste. 600
                                       Denver, CO 80202
                                       Telephone: (303) 571-4000
                                       Facsimile: (303) 571-4321
                                       tmayle@kilpatricktownsen.com

                                       Counsel for Defendants Amazon.com, Inc. and
                                       Amazon Web Services, Inc.

                                       /s/ Brian C. Nash
                                       Brian C. Nash (TX Bar No. 24051103)
                                       MORRISON & FOERSTER LLP
                                       300 Colorado Street, Suite 1800
                                       Austin, TX 78701
                                       Telephone: 512.617.0650
                                       BNash@mofo.com

                                       Counsel for Defendant F5, Inc.

                                       By: /s/ Ramsey M. Al-Salam
                                       Ramsey M. Al-Salam, WSBA No. 18822
                                       PERKINS COIE LLP
                                       1201 Third Avenue, Suite 4900
                                       Seattle, WA 98101
                                       Phone: 206-359-8000
                                       Fax: 206-359-9000
                                       Email: RAlsalam@perkinscoie.com




                                       5
Case 5:23-cv-00134-RWS-JBB Document 38 Filed 04/26/24 Page 6 of 6 PageID #: 595




                               CERTIFICATE OF CONFERENCE
        The undersigned counsel hereby certifies the Parties met and conferred on the relief

 requested in this motion, and this motion is joint.


                                                  /s/ Daniel P. Hipskind
                                                     Daniel P. Hipskind



                                  CERTIFICATE OF SERVICE
        The undersigned counsel hereby certifies that on April 26, 2024, a copy of the foregoing

 document was served on all counsel who have appeared in this case via CM/ECF.


                                                  /s/ Daniel P. Hipskind
                                                     Daniel P. Hipskind




                                                   6
